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                      EXHIBIT A
                             Case 3:19-cv-01861-SRU Document 1-1 Filed 11/20/19 Page 2 of 7

SUMMONS - CIVIL                                                                                                                      STATE OF CONNECTICUT
JD^V-1 Rev. 4-16
JD-CV-1
C.G.S. §§ 51-346,
          51-346,51-347,51-349,
                  51-347, 51-349, 51-350, 52-45a,
                                           52-4Sa,                                                                                     SUPERIOR COURT
52-48, 52-259. P.B. gg
S2-46. 52-259,      §§ 3-1
                       3-1 through 3-21,
                                   3-21,8-1,10-13
                                         8-1, 10-13                                                                                                    www.jud.ct.gov^
                                                                                                                                                       wwwfud.ctgov
See other side for instructions
 [—1 "X" if amount, legal interest or property in demand, not including interest and
1^
 --1 costs is less than $2,500.
 rj^ "X" if
         If amount, legal interest or property in demand, not including interest and
1=9
 ^ ' costs is $2,500 or more.
0Q "X" if claiming other
                     ottier relief in addition to or in lieu of money or damages.

TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
this Summons and attached Complaint.
                 deik where writ and other papers shall be filed (Number, street,
Address of court dm*                                                      street town and zip code)                                derk
                                                                                                               Telephone number of clerk        Return Date (Must be a Tuesday)
(C.G.S.
(C.G.S.§§S1‘346.
        5§ 51-346, 51450)
                   St-350)                                                                                     (with
                                                                                                               (wiOf area
                                                                                                                     ares code)
                                                                                                                          oodS)
95 Washington Street; Hartford, CT 06106                                                                       ( 860 )548-2700
                                                                                                               (860  ) 548-2700                 November                     19 , 2 019
                                                                                                                                                                             19,2
                                                                                                                                                —   3rd—
                                                                                                                                                    Monin               -Tar
                                                                                                                                                                          yjy     year
                                                                                                                                                                                  T€ar
IXj Judidal
    judicialCkstriet
            District
                                     nr~i Number.
                                          G.A.
                                                                             wNch writ is returnable) (C.G
                                                                 At (Town in which                    (C.6.S. §§ 51-346,
                                                                                                           S. 55 51^6, 51449)
                                                                                                                         51^9}                  Case type code (See list
                                                                                                                                                                    fist on page 2)

nj~~| Housing
      Houdng Session                      Number                 Hartford                                                                        Major M
                                                                                                                                                 Major.                 Minor 90
For the
For the Plaintiff(s)
        Plaintiff<s) please
                     please enter
                            enter the
                                  the appearance
                                      appearance of:
                                                 of:
                                  firni or plaintiff
Name and address of attorney, law firm     plaintifr if
                                                     If self-represented (Number, street, town
                                                                                          foivn and zip code)
                                                                                                        code;                                   Juris number no be entered
                                                                                                                                                Juns               enrerMT by
                                                                                                                                                                           byasameyenlyt
                                                                                                                                                                              affainey eint0
Sabatini and Associates, LLC; One Market Square; Newington, CT 06111
                                                               06111                                                                            052654
                                                                                                                                                062664
                            cede)
Telephone number (with area code)                                Signature of Plaintiff 01
                                                                                        (If seff-remesenterg
                                                                                            adf-represented)
((860
  860)) 667-0839
The attorney or law firm
                    firni appearing for the plaintiff,
                                            ptdntiff, or the plaintiff
                                                             plaintifr if                                 Email address for delivery
                                                                                                                            ddivery of papers under Section 10-13
                                                                                                                                                            1(^13 (if
                                                                                                                                                                  pf agreed to)
self-represented, agrees to accept papers (service) electra
this
tius case under Section 10-13
                                                       electronically
                                                                Ically in
                          1(^13 of the Connecticut Practice Book.
                                                                            0
                                                                            Q Yes        E No
                                                                                           No


Number of Plaintiffs: 11                       Number of Defendants: 11                             0
                                                                                                    Q Form JD-CV-2 attached
                                                                                                                   attadied for additional parties
    Parties              Name (Last, First, Middle Initial)
                                                   Initial) and Address of Each party
                                                                                par^ (Number; Street; P.O. Box; Town; State; Zip; Country, if
                                                                                                                                           Ifnot USA)
     First             Name: PERODEAU,       Michael
                               PERODEAUL^Michael                                                                                                   P-01
                                                                                                                                                    P-01
    Plaintiff
    Plaintiff          Address: 60 Falcon
                                   Falcon kidge
                                            Ridge Road; RockyRocky Hill, CT 06067

   Additional          Name:                                                                                                                                                           P-02
    Plaintiff          Address:

     First             Name: U. u. S. SECURITY ASSOCIATES,
                                               ASSOCIATES. INC.;
                                                           INC.; 200 Mansell Court; Suite 600,•
                                                                                          500: Roswell,
                                                                                                Roswell, Georgia 30076                                                                 0-01
                                                                                                                                                                                       D-01
   Defendant
   Defendant           Address:                                                                        06108>3408
                       Address^ Agent: CT Corporation System; 67 Burnside Avenue; East Hartford, CT 061084408

   Additional          Name:                                                                                                                                                           D-02
   Defendant           Address:

   Additional          Name:                                                                                                                                                           D-03
                                                                                                                                                                                       D43
   Defendant
   Defendant           Address:

   Additional          Name:                                                                    .                                                                                      D44
   Defendant           Address:

Notice to Each Defendant
1.
1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making
   against you in this
                    Uiis lawsuit.
2. To be notified of further proceedings, you or yo            o ey must file a form called an "Appearance" with the clerk
                                                       yoypdit^ey                                                        derk of the above-named Court at the above
   Court address on or before the second da     day^affer th    bove Return Date. The Retum
                                                           ffi^bove                       Return Date is not a hearing date. You do not have to come to court on the
   Retum
    Return Date unless you receive a sep  sepafide e nog     eying you to come to court.
                                                      notic^Uing
3. If
    if you or your attorney do not file a
                                        ay^en tten "Ape                             judgment
                                                          arance" form on time, a judgmen^ay
                                                    "Appdarance”                                                                 defauit. The 'Appearance"
                                                                                                   be entered against you by default.         "Appearance” form may be
   obtained at the Court address apd^   • ye or at iymv.y(/tf.cf.gov
                                                         vjudntgov under 'Court
                                                                            "Court Forms:"
                                                                                     Forms:*'^
4. If
    If you believe that you have   • urance tha
                             haveiadurance     tha;<mayay cover the claim that is bb^n^^ade
                                                                                     ' made against you in this
                                                                                                              ttiis lawsuit, you should immediately contact your
   Insurance
   insurance representative
                representative^^erther action uw • u may have to take is des
                                                                          despdtJM  d In
                                                                                      in the Connecticut Practice Book which may be found in a superior court law
   library or on-line at vMm.jud.ct.gov
                               jud.ctgov wider  der 'Court
                                                     "Court Rules."
S.
5. If
    If you have grind°      about the Su
                 questiopdabout             mons and Complaint,
                                       Supimons                          should talk to an attorney quickly. The Clerk of Court Is
                                                         ComplaintyaCTshould                                                         Is not allowed to give advice on
   legal questions
          questions/^                  /
              a^jSCpmper
 Signed (Sign and  unmet box)                                    y I w commissioner
                                                                        Commission^of the           Name of Person Signing at Left                                 Datesigned
                                                                                                                                                                   Date
                                                                   l^ Superior Court
                                                                   ,__,
                                                                   I II Assistant
                                                                   11   As^stant Clerk
                                                                                  Cleric            James V. Sabatini, Esquire
                                                                                                                       Esquire                                    ho-
                                                                                                                                                                   10-       -19
If
If this Su,      ons is signed b
          Suoimons              b^aa Clerk:
                                     Cleric                                                                                           For CA
a. The
    The^ning gning has been d  dmee so that       Plaintiff(s) will not be denied access to the courts.
                                       thattbdnaintiff{s)                                                                      File Date
b. ItIt is the responsibility o
                              opiee Plai                       seririce is made in the manner provided by law.
                                             (s) to see that service
                                    Plaiptifffs)
c
c. The Clerk Is  is not permi   d      ve any legal advice in
                        permitfedte'dtve                        In connection with any lawsuit.                                                   mil
                                                                                                                                                  niewskr
d. The Clerk signing this Summons at the request of the Plaintiff(s) is not responsible in any way for any errors or omissions                  Marshal
    in the Summons, any allegations contained in the      tiie Complaint, or the service
                                                                                  senrice of the Summons or Complaint.
                                                                                                                                         Hartford               Hartford County

 II certify
    certify II have
               have read
                    read and
                         and         Signed (Self-RepresentedMalaga)
                                            (Selt’RepresentedPtanbfl)                                                       Date                     Docket Number
 understand the above:
                                                                                        (Page 1
                                                                                              l of 2)
                                                                                                of2)
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                      19,2019
RETURN DATE: November 19, 2019

MICHAEL PERODEAU                                SUPERIOR COURT

VS.                                     :       HARTFORD JUDICIAL DISTRICT

U.S. SECURITY ASSOCIATES,
INC.                      :                             18,2019
                                                OCTOBER 18, 2019

                                            COMPLAINT

       1.
       1.        Plaintiff Michael Perodeau was and is a Connecticut citizen residing in the Town

of Rocky Hill.

       2.        Defendant U.S. Security Associates, Inc. was and is a corporation organized and

existing under the laws of the State of Delaware with a principal place of business located at 200

Mansell Court, Suite 500, Roswell, Georgia 30076.

       3.        Defendant employed plaintiff.

       4.        Defendant hired plaintiff in January 2015.

       5.        Plaintiffs job position was security guard.
                 Plaintiffs

       6.        Plaintiff was qualified for the job.

       7.                        10, 2018, plaintiff emailed c-workers who did not receive their
                 On or about May 10,

quarterly attendance bonuses.

       8.        Employee bonus pay for attendance was ongoing problem in the summer of 2018.

       9.        Specifically, defendant was failing to pay the bonuses.

       10.
       10.       Defendant
                 Defendant employs
                           employs Martin
                                   Martin Muzzey.
                                          Muzzey.

       11.
       11.       Muzzey is a managerial employee.

       12.
       12.                 7,2018,
                 On August 7, 2018, plaintiff emailed Muzzey notifying him that there was an

issue with co-worker's workers' compensation claim.




                                                    1
                                                    1
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       13.
       13.      Specifically, the issue was that the employee's medical bills were being sent to the

employee for payment instead of the workers' compensation carrier.

       14.
       14.      Plaintiff told defendant that he hoped that his co-worker's medical bills will be

paid by workers compensation prior to the co-worker being threatened with collections.

       15.
       15.                         24,2018,
                On or about August 24, 2018, plaintiff notified defendant that the security

stationed at Connecticut hospitals were not being paid for all the time worked and were being

short-changed with their pay. Plaintiff told defendant
                                             defendwt that this was and continued to be a major

problem.

       16.
       16.                          15,2018,
                On or about October 15, 2018, plaintiff emailed defendant and in the email

addressed the lack of payment of bonuses, several outstanding State Connecticut Department of

Labor complaints and an incident involving Muzzey's use of profane and vulgar language in the

workplace.

       17.
       17.       Muzzey commented that plaintiff was not a team player.

       18.
       18.                  18,2018,
                 On October 18, 2018, defendant terminated plaintiffs employment.

        19.
        19.      Plaintiff had a good faith reasonable belief in notifying defendant of payroll

practices that violated Connecticut and/or Federal law.

        20.      Plaintiffs complaints regarding unpaid wages were legally protected.

        21.      Defendant retaliated against plaintiff for making the good faith complaints.

        22.                  non-retaliatoiy excuses to be offered by the defendant would be
                 Any and all non-retaliatory

pretext to mask the unlawful retaliatory motive.

                                       COUNT ONE
                (Wrongful Termination in Violation of Important Public Policy)

        1.
        1.       Plaintiff re-alleges and incorporates herein each and every paragraph as though

fully set forth herein.

                                                   2
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>


              23.     Plaintiff made internal notifications to the defendant during the course of his

    employment regarding the unlawful practice of failing to pay wages.

              24.     Plaintiffs notifications involved serious concerns for the legal rights and
                      Plaintiff's

                                                                                           et
    protections afforded to employees under Connecticut's Wage and Hour Law, C.G.S. §31-58 el

    seq.

              25.     Plaintiffs notifications involved negligent, reckless and illegal practices that were
                      Plaintiff's

    likely to cause financial harm to employees.

              26.                              plaintiffs employment was wrongful in that it was in
                      Defendant's discharge of plaintiff's

    consequence of plaintiff notifying the company of acts and practices in violation of Connecticut's

                       C.G.S. §31-58 et seq.
    Wage and Hour Law, C.O.S.

              27.                    defendant’s wrongful discharge, plaintiff sustained harms and
                      As a result of defendant's

    losses.

                                               COUNT TWO
                                           (FLSA - RETALIATION)

              1.
              1.                                                                               1-27 as
                      Plaintiff repeats and re-alleges the allegations set forth in Paragraphs 1-27

           fiilly set forth herein.
    though fully

              28.                              plaintiffs employment in retaliation for the plaintiff
                      Defendant terminated the plaintiff's

    notifying the defendant that defendant was not paying its employees.

              29.                                                  15(a)(3) of the FLSA (29 U.S.C. §
                      Defendant violated the provisions of Section 15(a)(3)

    215 (a)(3)) by retaliation against plaintiff for exercising rights protected under the Act.

              30.     Defendant's retaliation was willful.

              31.     As a result of the retaliation, plaintiff is entitled to damages as set forth in the

    FLSA, more specifically 29 U.S.C. § 215(a)(3); 29 U.S.C. § 216(b).


                                                          3
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                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for appropriate compensatory damages including:

damages for back pay, front pay, bonuses, personal days, lost employee benefits, emotional

                                       attorneys’ fees, costs, interest, attorneys'
distress, punitive damages, reasonable attorneys'                        attorneys’ fees under

C.G.S. Section 31-72, liquidated damages under C.G.S. §31-72, attorneys' fees under the FLSA;

liquidated damages under the FLSA; jury trial; and for all other just and proper relief.

        Hereof fail not but of this writ with your doings thereon make due service and

return according to law.

                                             18*’’ day of October, 2
        Dated at Newington, Connecticut this 18th




                                              JJ^es     Sabatmi,
                                                  es V. Sabat 1, Esq.
                                              ^BATINI     AND   ASSOCI^3^,
                                                ABATINI • D ASSOCI         LLC
                                                                        S, LLC
                                               11 Market
                                                  Market Squ
                                                         Squjfre
                                                             •e
                                              Newington,            11
                                              Tel. No.: (860) 667-0839
                                               Fax No.: (860) 667-0867
                                                      isabatini@.sabatinilaw.com
                                               Email: isabatiniQsabatinilaw.com
                                              Juris No. 052654



                appearance
Please file our appe     ce
on behalf
on behalf of
           of the
              the ^^tiff.
                    intiff.



Jan^Sabatini
Jam  Sabatini
                                                                               ATrue; opy
                                                                                    ST
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               STATEMENT OF AMOUNT IN DEMAND

              The amount in demand is greater than $15,000.00

                      exclusive of attorneys and costs.




                                      5
